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                         IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF TEXAS

                                           AMARILLO DIVISION

KIMBERLY D. POLLARD and J.S. (A                             $
Minor Child),                                               $
                         PLAINTIFFS,                        $
                                                            $
                                                            $      CryIL ACTION CAUSE NUMBER
CHURCH OF GOD IN CHzuST, INC.,       an                     $
Active Domestic Tennessee      Nonprofit                    $
Corporation, and CHURCH OF GOD      IN                      $                    2:16-CY-238-J
CHzuST, BOARD OF BISHOPS, and BISHOP                        $
JAMES L'KEITH JONES,                                        $
                                                            $
                         DEFENDANTS.                        $


                    MEMORANDUM OPINION AND ORDER GRANTING
                   DEFENDANT'S MOTION FOR SUMMARY JUDGMENT

         Before the Court is Defendant Churchof God in Christ,Inc.'s motion, filed             Augustl9,2)l7,

for summary judgment on the claims              asserted    in this suit on behalf of J.S., Plaintiffs' response

thereto, and the Defendant's reply, For the following reasons, summary judgment for Defendant

Church of God in Christ, Inc. is granted.

                                               Factual Background

         This is an action brought on behalf of the alleged victim of a potential sexual assault against

the national church by which the future suspected assailant, Bishop James L'Keith Jones, was

ordained. A final default judgment against Defendant Jones was entered in the amount of

$750,000,00 in damages, plus reasonable and necessary costs in this action. That judgment is now

final.

         Plaintiffs allege direct liability against the national church - based upon its alleged negligent

supervision of Bishop Jones    -   as   well   as   vicarious liability for Jones' acts of grooming J.S. for some
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future sexual assault. Specifically, Plaintiffs assert that the national church knew or should have

known of the illicit conduct that Jones had engaged in with Plaintiff Kimberly Pollard because a

basic investigation would have revealed those facts and, because Jones allegedly worked for and was

ordained by the national church, it is liable for his past misconduct.

         As alleged in PlaintiffKimberlyPollard's complaintandexplained inher summaryjudgment

affidavit, Plaintiff states that she had her first sexual encounter with then-pastor Jones in 1995 in

New Mexico, when she was 16 years of age. The age of consent is 16 in New Mexico. At some

point in time Plaintiff and her daughter moved to Texas. In about 2002,when Plaintiff was 23 years

old, she states that she stopped seeing Jones. In Novemb er of 2014 - twelve years later   -   Jones and

Plaintiff Pollard, then age 35, began a second, consensual, sexual affair in Texas. Plaintiff ended

that affair in or around February of 2016 when she states she realized that Jones was allegedly

"grooming" her daughter for a future sexual affair   -   as she then realized he had groomed her when

she was age   15. Specifically, Jones told Pollard that J.S. - then age 6 - was "sexy" in her nightgown

and that he would "date" J.S. in the future when she was older.

         Pollard first reported the sexual misconduct by Jones to the national office of the church

during the summer of     20i6. Pollard charucterizes     Jones's underlying conduct as grooming her

daughter for a potential future sexual assault, sexual abuse, and/or sexual molestation of a minor,

her daughter, similar to the multiple assaults against her that continued well into Plaintiff Kimberly

Pollard's adulthood.

                                  Summary Judgment Standards

         "The Court may terminate litigation by rendering a summary judgement where no genuine

issue   of material fact exists and the moving parfy is entitled to judgement    as a matter    of law."
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Honore v. Douglas, 833 F.2d 565,567 (5th Cir. 1987)(citations omitted). See also Celotex Corp.

v.Catrett,477U.S.3l7,322-23, 106S.Ct.2548,2552,91L.8d.2d265(1986)(initialburdenison

movant to show entitlement to summary judgment with competent evidence); Fed. R. Civ. Pro.

56@.lt "Summary judgement disposition is inappropriate             if the evidence before the court, viewed

as a   whole, could lead to different factual findings and conclusions." Honore v. Douglas,833 F.2d

at 567. This Court must resolve "all factual uncertainties and mak[e] all reasonable inferences in

favor of the nonmoving party." See id. Accord Bienkowski v. American Airlines,851 F.2d 1503,

1504 (5th     Cir. 1988)./2 Such     a f,rnding may be supported by the absence of evidence necessary to

establish an essential element of the non-moving party's case. See Celotex Corp. 477 U.S. at322;

Topalianv. Ehrman,954F.2dll25,1131 (5th Cir.),cert. denied,954 U.S. 1125,113 S.Ct. 82,121

L.Ed.2d 46 (1992).

                                              Discussion and Analysis

          Plaintiff Pollard pleads that Jones made one inappropriate comment to J.S. about how sexy

she looked in her     nightgown. Plaintiffs' complaint states that Jones made      a comment   to Kimberly

Pollard   -   not directly to J.S.   -   about Jones dating J.S. when she turned 18. There is no allegation

in the complaint, no evidence in the record before the Court, and no testimony in Kimberly Pollard's

affidavit stating that Jones made any other inappropriate comment to J.S. or that he touched her



          1     A material fact issue is one that might affect the outcome of the suit under the governing
law. Andersonv.LibertyLobby, [nc.,477U.5.242,249,106S.Ct.2505,2510,91L.Ed.2d202(1986).
The substantive law governing the case will identiff which facts are material. Id., 477 U.S. at 249,106
S,Ct. at 2510. See Bache v. American Tel. and Tel. Co., 840 F.2d 283,287 (5th Cir.), cert. denied,488
u.s. 888, 109 S.Ct. 219,102 L.Ed.2d 210 (1988).
          2     However, "[t]here is no issue for trial unless there is sufficient evidence favoring the
nonmoving party for a jury to return a verdict for that party." Liberty Lobby, 477 U.S. at249,106 S.Ct.
at2511 (citations omitted). "If the evidence is merely colorable, or is not significantly probative,
summary judgment may be granted," Id. (citations omitted).
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inappropriately. A single inappropriate comment       - even with Pollard's    real and valid belief that

Jones was grooming her daughter for a future sexual relationship     -   do not constitute an overt act   of

now-actionable sexual assault as that conduct is defined by Texas law. Plaintiffs, both citizens          of

Texas, do not plead or argue that any other state's law applies under the facts of this case.

         As to the church's vicarious liability, that theory of liability centers around the relationship

between a tortfeasor's alleged misbehavior and the work he was hired to do. Under the doctrine            of

respondeat superior, an employer is liable for an employee's torts if: (1) his acts were within the

employee's general authority; (2)the acts were in funherance of the employer's business; and (3)

the acts were aimed to accomplish the employment objectives for which the employee was hired.

See   MinyardFoodStoresv, Goodman,S0 S.W.3d 573,577 (Tex.2002). Iftheemployeewasacting

within the course and scope of his employment      at the time he committed the   wrongful acts, liability

for the act is imputed to the employer. See Baptist Mem'l Hospital v. Sampson, 969 S.W .2d945 ,947

(Tex. 1998). However, employers generally are not liable for an employee's "purely personal"

pursuits or "errands of his own," "doing nothing to further the master's business or to accomplish

the object for which he was employed." See Mitchell v. Ellis,374 S.W.2d 333,336 (Tex. Civ. App.


-   Fort Worth 1963, writ   ref'A. Cf Hein v. Harris Co., 557 S.W.2d         366,368 (Tex. Civ. App.      -
Houston [1st Dist.] 1917 , writ ref'd n.r,e.)(("The rule is that when a servant turns aside, no matter

how short the time, from the prosecution of the master's work to engage in an affair wholly his own,

he ceases to act for the master, and the responsibility for his actions in pursuing his own business or

pleasure is upon him alone.")(citingTexas & P. Ry. Co. v. Hagenloh, 151 Tex. 191,247 S.W.2d 236

(1es2)).

         Therefore, assuming Jones was a national church employee, and without needing to consider

Defendant' legal contentions that Jones actually was not its employee, the clear Texas rule is that
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even   if   Jones was a national church employee, the church as his employer is not liable for employee

Jones' wrongful acts if and when he as an employee strayed from his employer's work for a purely

personal pleasure orpursuit. See Southwest Dairy Products Co. v. De Frates, 132 Tex.556,559,

125 S.W.2d 282,283 (1939).

            Pollard's assault claims on behalf of J.S. therefore can not trigger vicarious liability upon the

church unless the church somehow ratified his wrongful actions. "In Texas it is not within the scope

of a servant's authority to commit an assault on a third person." Geiger v. Varo, Inc., 1994 WL

246159, *5 (Tex. App.        -   Dallas, June 6, 1994, writ denied)(citing Green v, Jacl<son, 674 S.W.2d

395, 398 (Tex. App.      - Amarillo 1984,writ ref'd n.r.e.)).   Here, Pollard complains of "sexual abuse,"

"sexual molestation" and other intentional misbehavior by Jones. The national church is not

vicariously liable for these intentional torts which, on the basis of the facts pled, were personal

pursuits of J.S. by Jones and no contention is pled, argued or briefed that the national church

somehow ratified his actions, Plaintiff cites to no evidence showing Jones' wrongful acts were done

for other than his own personal pursuits, or were done on behalf of or pursuant to the national

church's directions or business needs, or were within the scope of any express authority delegated

to him by the national church, or were somehow ratified at any time by the church.

            Plaintiffls arguments in response to Defendant' summary judgment motion fails to cite or

discuss any substantive law or evidence which would permit this Court to deny summary judgment.

Plaintiffs fail to argue that any other law applies. Plaintiffs' response fails to show a genuine issue

of material fact evidencing that the Defendant do not have a valid defense, as pled and argued by the

Defendant under the undisputed facts of this case.
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                                            Conclusions

       The party seeking summary judgment has shown an entitlement to summary judgment

pursuant to Rule 56. Defendant Church of God in Christ, Inc. Is entitled to judgment on Plaintiff

J.S.' claims because vicarious liability does not attach to the national church for Jones' personal

pursuits of Plaintiff J.S. outside the scope of his employment, even if he was an employee or agent

of the national church (which the Defendant disputes and the Court does not, and need not, decide).

       For all of those reasons, the Defendant's motion for summary judgment against all of

Plaintiff J.S.' claims and causes of action is therefore granted.

       It is SO ORDERED.



        Signed this the       9rh          day of November, 2017.




                                                  slUara Lou Robinson
                                                MARY LOU ROBINSON
                                                SENIOR LINITED STATES DISTRICT JUDGE
